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 7
                                UNITED STATES DISTRICT COURT
 8                             WESTERN DISTRICT OF WASHINGTON
 9
        BRUCE P. KRIEGMAN, solely in his                      CASE NO.
10      capacity as court-appointed Chapter 11
        trustee for LLS America, LLC,
11                           Plaintiff,                       CERTIFICATE OF SERVICE
12
        v
13
        RONALD PONTON, JR. and TOMIKA
14
        PONTON,
15
                               Defendants.
16

17          I hereby certify that on March 14, 2022, I caused to be served a copy of the Notice of
18   Removal with attached exhibits on the following persons in the manner indicated below at the

19   following address(es):

20

21    Elizabeth Hebener Norwood, WSBA# 40930                   Served via email and first class
      Green & Norwood, PLLC                                    mail
22    2722 Eastlake Ave E, # 30
23    Seattle, WA 98102
      Tel# (206) 420-3486
24    elizabether@gnlawseattle.com

25    Attorney for Bruce P. Kriegman, solely in his
      capacity as court-appointed Chapter 11 trustee for
26    LLS America, LLC

       CERTIFICATE OF SERVICE - 1                                              HENRY & DEGRAAFF, P.S.
                                                                              113 CHERRY ST., PMB 58364
                                                                                  SEATTLE, WA 98104
                                                                          V (206) 330-0595 / F (206) 400-7609
             Case 2:22-cv-00307-RSM Document 1-3 Filed 03/14/22 Page 2 of 2




 1

 2   Matthew D. Green, WSBA# 18046                         Served via email and first-class
     Green & Norwood, PLLC                                 mail
 3   2722 Eastlake Ave E, # 30
     Seattle, WA 98102
 4   Tel# (206) 420-3486
     matt@gnlawseattle.com
 5
     Attorney for Bruce P. Kriegman, solely in his
 6   capacity as court-appointed Chapter 11 trustee
     for LLS America, LLC
 7

 8
     JPMorgan Chase Bank, N.A.                             Served via email and first-class
 9   Attn: Tiffany Stanforth, Transactions Specialist II   mail
     Court Orders and Levies
10   RCO Centralized Mail
     Mail Code LA4-7200
11   700 Kansas Lane
     Monroe, LA 71203-4774
12
     Tel# 1-866-578-7022
13
           EXECUTED this March 14, 2022 at Bothell, WA
14

15

16                                               /s/ Christina L Henry
                                                 Christina L Henry, WSBA 31273
17                                               HENRY & DEGRAAFF, PS
                                                 113 Cherry St, PMB 58364
18
                                                 Seattle, WA 98104
19                                               Tel: 206-330-0595 / Fax 206-400-7609
                                                 chenry@hdm-legal.com
20

21

22

23

24

25

26


      CERTIFICATE OF SERVICE - 2                                          HENRY & DEGRAAFF, P.S.
                                                                         113 CHERRY ST., PMB 58364
                                                                             SEATTLE, WA 98104
                                                                     V (206) 330-0595 / F (206) 400-7609
